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               Lee County Sheriff’s Office


           Office of Professional Standards
              Staff Inspection Final Report




                              Purchasing
     Workload Assessment and Staff Inspection
                             October 2020

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                Lee County Sheriff’s Office
   ______________________________________________________   _____________________
   Sheriff Carmine Marceno                                  Date
   Office of the Sheriff


   ______________________________________________________   _____________________
   Undersheriff Eric Smith                                  Date
   Office of the Sheriff


   ______________________________________________________   _____________________
   Chief John Holloway                                      Date
   Office of the Sheriff


   ______________________________________________________   _____________________
   Annmarie Reno                                            Date
   Support Services Executive Bureau


   ______________________________________________________   _____________________
   Jenna Clark                                              Date
   Purchasing Director


   ______________________________________________________   _____________________
   Traci Estep                                              Date
   Professional Standards Division


   ______________________________________________________   _____________________
   Commander Paul Cummins                                   Date
   Professional Standards Division



   ______________________________________________________   _____________________
   Captain Matthew Herterick                                Date
   Training Division


   ______________________________________________________   _____________________
   Sergeant Diana Cintron                                   Date
   Staff Inspector – Professional Standards Division




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                           Lee County Sheriff’s Office

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                  Lee County Sheriff’s Office
                      Executive Summary – Purchasing Inspection
  In August 2020, Sergeant Diana Cintron of the Lee County Sheriff’s Office Professional
  Standards Division began a formal staff inspection of Purchasing. The summarized results are
  below:

  Conclusion

     1. Does Purchasing meet the agency's formal expectations?

         Yes.

     2. Does Purchasing’s practices and procedures ensure compliance with LCSO policies,
        procedures, and professional standards?

         Yes.

     3. Are there deficiencies in integrity, training, morale, policy, supervision, or personnel at
        Purchasing?

         There are no recognizable deficiencies in integrity, training, morale, policy, first line
         supervision, and personnel.

     4. Are resources adequate for achieving agency goals and objectives?

         Several Purchasing Agents requested a handheld Barcode scanner and a camera to take
         pictures of stock items. The staffing resources are inadequate according to the workload
         analysis. The addition of two (2) Purchasing Agent allocations is recommended for
         Purchasing.

     5. Are internal and external communications effective?

         Yes.

     6. Is there sufficient safety and security for personnel?

         Yes. There is sufficient safety and security for personnel, and the equipment provided
         meets and exceeds all operational and Accreditation standards.

     7. Are the written directives for this unit adequate?

         Yes. Written directives meet all State and Federal laws, and Accreditation Standards.



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                   Lee County Sheriff’s Office
     8. Evaluation of the record keeping practices for organization, completeness, and ability to
        retrieve information.

         The record keeping practices of Purchasing are organized, complete, and the software
         available provides easy retrieval of information.

     9. Other Recommendations
        There are no other recommendations at this time.


     Objectives

     1. Does Purchasing comply with the law, policy, and CALEA standards? Yes.
                                                                          Yes.

     2. Is the Purchasing facility safety and security appropriate? Yes.
                                                                    Yes.

     3. Are equipment safety, and equipment needs met?”? Yes.
                                                         Yes.


     4. Is adequate supervision assigned to Purchasing? Yes.
                                                        Yes.

     5. Are adequate personnel assigned to Purchasing?? No.
                                                        No.

         Recommendation: The current staffing level is inadequate and it is recommended   that two
                                                                                nmended that   two
         (2) additional Purchasing Agent positions be allocated.



  The Purchasing Division of the Lee County Sheriff's Office appears to be running at a high to
  very high level of productivity according to all of the employees. Most of the personnel appear
  to be happy to very happy to be assigned there. Supervisors appear extremely qualified, and are
  well liked by their employees. Nearly all of the staff showed high to very high levels of morale
  and job satisfaction.

  It is difficult to obtain the perfect level of equipment, service, and employee satisfaction in a law
  enforcement agency. The Purchasing Division is a very small unit with a group of very hard
  working and dedicated employees. With their expertise in purchasing goods and services for the
  department, the certified staff can focus on keeping the residents and visitors of Lee County safe.




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               Lee County Sheriff’s Office




                     Purchasing
                   Formal Staff
                    Inspection




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                  Lee County Sheriff’s Office
                         Purchasing Formal Staff Inspection
  Introduction
  In August 2020, Sergeant Diana Cintron of the Lee County Sheriff’s Office Professional
  Standards Division began a formal staff inspection of the Purchasing Division, commonly
  referred to as “Purchasing.” On August 26, 2020, Sgt. Cintron held a pre-inspection meeting
  with Purchasing Director Jenna Clark. It was determined that Purchasing Director Clark would
  be the liaison for the inspection process. The inspection began in October of 2020 and
  concluded in November 2020.

  Description of Purchasing
  Location

  The Lee County Sheriff’s Office Purchasing Division is comprised of Purchasing
  Director/Management and Purchasing Agents. The strength of the Central Purchasing System is
  its ability to serve the operating components/divisions without requiring them to maintain their
  own internal purchasing process. The value of centralized purchasing has long been recognized
  in both government and private business.

  The goal of Purchasing is to obtain items at the lowest reasonable rate and within the time
  requested, or as soon as possible. The Purchasing Division is also responsible for ensuring
  proper authorization and recording of all purchase transactions by its personnel.

  There are three different purchasing procedures: Standard Purchasing requires an online
  purchase order; In-House Store Purchasing requires an online requisition; and Software
  Purchasing requires Technical Support and Facilities Division Director approval prior to
  submission of an online purchase order.

  Purchasing is located in the Lee County Sheriff’s Office Main Headquarters at 14750 Six Mile
  Cypress Parkway, Fort Myers, FL 33912. Lee County Sheriff’s Office personnel have access to
  Purchasing and its employees Monday - Friday, 9:00 a.m. – 4:00 p.m. There is ample parking
  for personnel. The building provides adequate security with video surveillance. There are no
  major issues with the location or property.

  Personnel

  As of October 2020, Purchasing contains 7 allotments distributed as follows: 1 Purchasing
  Director, 1 Purchasing Manager, 5 Purchasing Agents.



  Daily Operations

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                  Lee County Sheriff’s Office
  Purchasing Division personnel work four, 10-hour days. Scheduling is set to cover a workweek
  of Monday – Friday.

  Purchasing Director position involves responsible supervisory, administrative and operational
  duties specific to the position. The Director researches and prepares various reports, composes
  and constructs policy, procedure and directives, and the budget for the component. The
  Purchasing Director Jenna Clark works from 8:00 a.m. – 6:00 p.m., Tuesday - Friday.

  The Purchasing Manager position involves administrative and clerical work purchasing a variety
  of supplies and equipment. Work involves responsibility for research, pricing and negotiation
  for purchase of quality items at the best price, preparing purchase orders, and keeping an
  inventory of items ordered and received. Duties include contacting vendors for availability of
  products and the provision of contracted services. Work is performed under the general
  supervision of the Purchasing Director. Purchasing Manager Shannon Lehman works 6:30 a.m.
  – 4:30 p.m., Monday – Thursday.

  The Purchasing Agents duties involve responsibility for research, pricing and negotiation for
  purchase of quality items at the best price, preparing purchase orders, and keeping an inventory
  of items ordered and received. Duties include contacting vendors for availability of products,
  preparing bid specifications, and following-up on delivery of products and the provision of
  contracted services. Additionally, Purchasing agents answer phones, provide customer service to
  employees at the front counter, and meet vendors at the loading dock and accept delivery of
  products.

  Purchasing Agent Daysi Castillo works 7:00 a.m. – 5:00 p.m., Monday – Friday. Purchasing
  Agent Christine Cross works 6:00 a.m. – 4:00 p.m., Tuesday – Friday. Purchasing Agent
  Danielle DePonto works 7:15 a.m. – 5:15 p.m., Monday – Thursday. Purchasing Agent Brenda
  Hector works 8:00 a.m. – 6:00 p.m., Monday and Friday and 10:00 a.m. – 8:00 p.m. Tuesday and
  Thursday. Purchasing Agent Gwen Legler works 6:00 a.m. – 4:00 p.m., Tuesday - Friday.

  Mission, Objectives, and Methodology of Formal Inspection
     1. Mission
           a. To determine if Purchasing meets the agency's formal expectations.
           b. To review practices and procedures to ensure compliance with LCSO policies,
              procedures, and professional standards.
           c. To detect deficiencies in integrity, training, morale, policy, supervision, or
              personnel.
           d. To determine if resources are adequate for achieving agency goals and objectives.
           e. To evaluate the effectiveness regarding internal and external communications.
           f. To evaluate the safety and security of personnel.
           g. To evaluate the adequacy of written directives related to this unit.


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                  Lee County Sheriff’s Office
          h. To review the record keeping practices for organization, completeness, and ability
              to retrieve information.
     2. Objectives
          a. Ensure compliance with the law, policy, and CALEA standards.
          b. Ensure facility safety and security is appropriate.
          c. Ensure equipment safety, and equipment needs are met.
          d. Ensure that adequate supervision is assigned.
          e. Ensure that adequate personnel are assigned.
     3. Methodology
          a. Meetings, email and phone contact with supervisors.
          b. Physical inspection of facilities.
          c. Review of relevant databases (PowerDMS, CAD, etc...)
          d. Surveys, including a component survey and unit member survey.
          e. Personal interviews with personnel.
          f. Analysis of the Division workload.



  Policy, Procedure, and Accreditation Compliance
  Commander’s Component Survey

  Purchasing Director Jenna Clark completed a “Component Survey" as part of this formal
  inspection. The Component Survey noted no concerns.

  Power DMS Inbox Summary

  Sgt. Diana Cintron generated a Signatures Summary and a Student Records report in thee Power
                                                                                         Power
  DMS system. The report revealed no major issues. This shows that personnel sign all
  mandatory documents and complete online courses in a timely manner.

  Official Manpower Allotments

  As of October 21, 2020, Purchasing contains 7 allotments distributed as follows: 1 Purchasing
  Director, 1 Purchasing Manager, 5 Purchasing Agents.

  The Purchasing budget and allocations (Budget Account #20302) Manpower Report is provided
  in the Appendix.

  Current Budget

  Sergeant Cintron obtained a copy of the Purchasing current budget for FY 20/21. Purchasing is
  allotted $1,665,414.00. No anomalies were noted in their expenditure report and their budget is
  consistent with that of other similar units at the Sheriff's Office.

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                    Lee County Sheriff’s Office
   Accreditation Compliance

   Sgt. Cintron received an email from Manager Tanya Tanner in Accreditation on November 5,
   2020. Manager Tanner stated that Purchasing was up-to-date on all of their standards and that
   there were no concerns or anomalies. A copy of the Accreditation standards for Purchasing is
   located in the Appendix.

   Goals and Objectives

   Goals and Objectives are written goals and written objectives that agency components use to
   measure the success or failure of their unit. Located on the agency intranet, personnel are able to
   see and obtain a copy of each goal and objective for their unit. Unit Commanders update these
   goals and objectives in January of each calendar year. The formal Goals and Objectives for
   Purchasing can be found in the Appendix.

      1. Written Goals and Objectives

          At the time of the inspection, the 2019 Goals and Objectives were completed. The 2019
          Goals and Objectives revealed the following concerns and notable accomplishments:

              a. Track number of purchase orders processed.
                     i. 2019 Baseline:
                        Total purchase orders and pick tickets processed: 6,641, a 19% increase
                        from 2018.

                         Recommendations – No recommendations at this time.

              b. Maintain efficiency in inventory control.
                    i. 2019 Baseline:
                        During 2019, the NIGP (National Institute for Government Purchasing)
                        Commodity/Service Codes have not been consistently utilized. The goods
                        and services that we acquire are not enough volume to utilize the codes.
                        Photo imaging of equipment and supplies is an ongoing process so this
                        would be considered not on target.

                         Recommendations – No Recommendations at  at this
                                                                     this time.
                                                                          time. The processisis
                                                                                The process
                         moving forward per Director Jenna Clark.




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                    Lee County Sheriff’s Office
   Job Task Analysis (JTA’s)

   Purchasing has the following non-staff level positions: Purchasing Agent. The Job Task
   Analysis for the above listed job classifications are in the Appendix.

   Facilities and Equipment

   Purchasing is located in the Lee County Sheriff’s Office Main Headquarters at 14750 Six Mile
   Cypress Parkway, Fort Myers, FL 33912. Lee County Sheriff’s Office personnel have access to
   Human Resources and its employees Monday - Friday, 9:00 a.m. – 4:00 p.m. There is ample
   parking for personnel. The building provides adequate security with video surveillance. There
   are no major issues with the location or property.

   Facility Safety and Security

   Purchasing has a controlled access system for entry into the secure areas of the building, and all
   equipment is protected and locked. Purchasing maintains a good combination of security and
   approachability for members, and the controlled access and provides a higher than normal level
   of security.

   Staffing Assessment
   Introduction

   The Lee County Sheriff’s Office is required to perform periodic workload assessments so that
   personnel may be appropriately allocated and distributed across the various organizational
   components.

   The Commission on Accreditation for Law Enforcement Agencies (CALEA) standard 16.1.2
   states: “The agency allocates personnel to, and distributes them within all organizational
   components in accordance with documented periodic workload assessments.” The purpose of
   this standards is to encourage the appropriate deployment of personnel by determining service
   demands through the use of workload assessments and computer-based or manual methods of
   personnel allocation and distribution. (Shane, 2009, p.99)

   The intent of this standard is to encourage the equalization of individual workloads among and
   within organizational components. The analysis should specify all incidents and factors used in
   making each workload assessment and indicate any time and location factors necessary to
   complete a task.

   Basing the allocation of personnel on workload demands can have a significant influence on the
   efficiency and effectiveness of the agency. The agency should attempt to prevent over or under
   staffing by ensuring that, the personnel strength of an organizational component is consistent
   with the workload. The nature or number of tasks as well as their complexity, location, and time


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                    Lee County Sheriff’s Office
   required for completion are some of the factors influencing workload demands. The process of
   allocating personnel to each organizational component also permits the agency to determine the
   overall number of personnel required to meet its needs and fulfill its objectives.

   Assignment of personnel to Purchasing should be based on a thorough analysis of what
   Purchasing Agents are actually responsible for. The work of Purchasing Agents is much more
   than answering telephone calls, reading, and returning emails to other personnel within the
   agency. It is conducting tasks related to research, pricing and negotiation for purchase of quality
   items at the best price, preparing purchase orders, and keeping an inventory of items ordered and
   received. Duties include contacting vendors for availability of products, preparing bid
   specifications, and following-up on delivery of products and the provision of contracted services.
   Additionally, personnel answer phones, provide customer service to employees at the front
   counter, and meet vendors at the loading dock and accept delivery of products.

   Workload Assessment Methodology

   The methodology used to perform the Purchasing Agents Workload Assessment is one suggested
   by CALEA inspectors and is formally presented in the textbook What Every Chief Executive
   Should Know; Using Data to Measure Police Performance by Dr. Jon Shane, who is a professor
   of criminal justice at the John Jay College of Criminal Justice at the City University of New
   York. Dr. Shane’s model is easy to use, easily taught to others, and accurate in determining
   staffing needs.

      1. Purchasing Agents

          The Explanation of Each Step in the Methodology for Purchasing Agents - Self-
          Reported Workload Analysis

          The methodology used to perform the Purchasing Agents Workload Assessment is the
          same one used by the Lee County Sheriff’s Office in previous years to determine staffing
          needs of various units and it includes workload and actual work on their regular duties.

          Explanation of Each Step in the Methodology

                  Step 1- Gather existing data on Purchasing Agents activities to determine those
                                                                                               10S¢

                  tasks completed daily by Purchasing Agents has to create a list of principle
                  modalities.

                  Step 2- Develop a list of principle modalities. The Purchasing Agents have
                                                                                         ave

                  reported these tasks as common tasks performed daily. (AKA principle
                  modalities).

                      i.   Phone Calls and Emails
                     ii.   Checking in Orders, and Receive Orders

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                  Lee County Sheriff’s Office
                   iii.   Pull Pick Ticket Orders and Send Order Ready Notifications
                    iv.   Customer Service Front Counter/Back Door, Receive/Process Packages
                     v.   Process Pick Ticket Orders, Process Purchase Orders and Pull Orders
                    vi.   Enter In-House Supply Replenishment Order, Enter Requisitions/Orders
                   vii.   Meeting with Jenna, Shannon or Assist Other Employees
                  viii.   Receive Purchase Orders
                    ix.   Enter/Finish Jail Supply Order, Finish Reviewing Supplies for
                          Corrections
                    x.    Convert Requisitions to Purchase Orders, Finish/Follow-up Pending
                          Requisitions
                    xi.   Enter/Update JM Todd New Leases
                   xii.   Follow-up with Vendors Open Orders/Orders Not Delivered
                  xiii.   Process/Convert Requisitions, Scan Requisitions and Purchase Orders
                  xiv.    Process New Hire, Size Appointment New Hire, Fill Out Paperwork for
                          New Hires
                   xv.    Cut Patches Off Used Uniforms and Hang/Dispose of Uniform
                  xvi.    Process Uniform Request/Returns, Check Used Uniforms, Work in
                          New/Used Uniforms
                 xvii.    Pull/Restock Uniforms and Equipment for Uniform Request, Restock
                          Inner Belts
                xviii.    Add Sizing Labels to Garment Bags for New LE Uniform
                 xix.     Other Administration Duties

                Step 3- Total minutes available for work in a typical day, and typical week,, were
                                                                                              were

                calculated with MS Excel.

                Step 4- Total minutes used and left unused for work by Purchasing Agents> were
                                                                                          were
                calculated with MS Excel.

                Step 5- The percentage of actual available minutes used by the unit was
                                                                                 it was
                calculated with MS Excel.

                Step 6- The top five modalities on which Purchasing Agents spend the majority
                                                                                       yority
                of their time were calculated with MS Excel.

                Step 7- The relief factor of 1.33 was included in these calculations.
                                                                              ations.

         The below chart indicates the results for the time required to fulfill Purchasing Agents
         demands. The summarized results indicate that there is a requirement of 7 full-time
         equivalent (FTE) positions to handle the Purchasing Agents workload. This indicates
         that a total of 5 (five) employees are performing the work of seven (7) FTE positions.
         The self-reported analysis also indicated that the Purchasing Agents are using 100% of
         their available time working on Purchasing Agent principal modalities. It would appear

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                               Lee County Sheriff’s Office
         that the current staffing level is inadequate and it is recommended that two (2) additional
         Purchasing Agent positions be allocated. The full results can be found in the Appendix.

                                     Purchasing - Civilian Purchasing Agent - TIME / WORKLOAD ANALYSIS
                                                                                                                                         Weekly       Weekly            Monthly            Annual               % Of Weekly
                             Tasks Routinely Performed by The Detectives                        Day 1      Day 2     Day 3     Day 4     Minutes          Hours          Hours               Hours                 Minutes
         Phone callsandEmails                                                                     693       579       602       652        2526           42.10          182.29           2187.516                 20.83%
         CheckinginOrders, Receive Orders                                                         14        179        88       140         421            7.02           30.38            364.586                  3.47%
         Pull PickTicket OrdersandSendOrder ReadyNotifications                                    153        42        19        6          220            3.67           15.88             190.52                  1.81%
         Customer Service Front Counter/BackDoor, Receive/ProcessPackages                         448       426       583       567        2024           33.73          146.07           1752.784                 16.69%
         ProcessPickTicket Orders, ProcessPurchase OrdersandPull Orders                           412       155       281       195        1043           17.38           75.27            903.238                  8.60%
         EnteredInHouse SupplyReplenishment Order, Enter Requisitions/Orders                      111       219        62        98         490            8.17           35.36             424.34                  4.04%
         MeetingwithJenna, Shannonor Assist other Employees                                       73        137       140        45         395            6.58           28.51             342.07                  3.26%
         ReceivingPurchase Orders                                                                 23         0         0         0          23             0.38           1.66              19.918                  0.19%
         Enter/FinishJail SupplyOrder, FinishReviewingSuppliesFor Corrections                     61         0         0         0          61             1.02           4.40              52.826                  0.50%
         Convert Requistionsto Purchase Orders, Finish/Follow-upPendingRequestions                 0         39        46       159         244            4.07           17.61            211.304                  2.01%
         Enter/Update JM ToddNewLeases                                                             0         0        274        0          274            4.57           19.77            237.284                  2.26%
         Follow-upwithVendorsOpenOrders/OrdersNot Delivered                                        0         0         0         33         33             0.55           2.38              28.578                  0.27%
         Process/Convert Requisitions, ScanRequisitionsandPurchase Orders                         278       246       414       331        1269           21.15           91.58           1098.954                 10.46%
         ProcessNewHire, Size Appointment NewHire, Fill Out Paperworkfor NewHires                 27         41        60        7          135            2.25           9.74              116.91                  1.11%
         Cut PatchesOff UsedUniformsandHang/Dispose Uniform                                       21         77        0         0          98             1.63           7.07              84.868                  0.81%
         ProcessUniformRequest/Returns, CheckUsedUniforms, WorkinNew/UsedUniforms                 239       249       245       295        1028           17.13           74.19            890.248                  8.48%
         Pulled/RestockedUniforms& Equpment for UniformRequest, RestockInner Belts                 7         35        0         0          42             0.70           3.03              36.372                  0.35%
         AddSizingLabelsto Garment BagsFor NewLEUniform                                            0         0         0         20         20             0.33           1.44               17.32                  0.16%
         Other Administrative Duties                                                              441       579       221       420        1661           27.68          119.87           1438.426                 13.69%
                                                                                     Total =     3001       3003      3035     2968       12007           200.12         866.51           10398.062                98.99%


                    Total Available Minutes / Includes ALL Time With No Deductions


         Total Daily Minutes Actually Available For Work    600 x 4 = 2400                       2400     600 available work minutes in one shift times 4 shifts each week (break s are part of relief factor included in calculations below)
         Total Weekly Minutes Actually Available For Work 600 x 4 x 5 = 12000                    12000    600 available minutes in one shift times 4 Shifts times 5 unit members
         Total Weekly Minutes Actually Used For Work By This Unit                                12007    Actual documented time work ed by the Unit during a regular four day work week .
         Unused Work Minutes                                                                       -7     Actual available time not tak en advantage of
         Percentage Of Actual Available Minutes Used By This Unit                                100%     Percentage of the actual available time used by the entire unit as a whole


                       Top Five Categories This Unit Is Spending Time On Weekly


         TasksRelatedto NewHire - Scan, Start ActionSheet, PrepNewFile                          20.83%
         TasksRelatedto Other Administrative Duties                                             16.69%
         TasksRelatedto Phone callsandEmails                                                    13.69%
         TasksRelatedto Applications, Applicants. Employment Verification                       10.46%
         TasksRelatedto MUNIS- Management, Repair, Requests, Documentation                       8.60%
          70% of their work week is spent on these five categories                               70%


         Full Time Equivalency Evaluation


                     One Full Time Equivalent / Actual Work Time With Deductions                 1574     1 FTE = 1574 Hours = 10 Hrs Daily x 4 Days Week ly = 40 Hrs Week ly x 52.14 Week s Yearly = 2086 Hrs Relief Factor of 512 hours = 1574 Hrs
                                            Total Annual Hours                                 10398.062 Total FTE hours work ed by the unit annually
                                         Full Time Equivalency                                     7      This number indicates that 5 Purchasing Agents are doing the work of 7 Purchasing Agents during an average work week.




         (This chart can be viewed in the Appendix)

         Relief Factor Calculations and Tables for Purchasing Agents

         Purchasing Agents are permitted a specified number of Vacation, Sick, Personal, and
         Training hours that takes them away from their regular duties. Therefore, a relief factor,
         which accounts for personnel usage of this time, must be factored into the staffing
         assessment. Using averages, the Relief Factor for Purchasing Agents working 10-hour
         shifts is 1.33. This means that 1.33 people must be hired to do the work of one full time
         equivalent position.




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                    Lee County Sheriff’s Office
                             Standard Relief Factor for Civilian Employees 10/Shift
                                                        Category                                          Civilian
          1   Total hours identified by policy (based on a standard 40 hour work week (40 x 52.14 = 2086) 2086
          2   Vacation Hours Per Year                                                                      160
          3   Personal Hours Per Year                                                                      100
          4   Sick Hours Per Year                                                                           80
          5   Break Time Hours Per Year                                                                    172
          6   Total of Lines 2-6                                                                           512
          7   Subtract Line 6 from Line 1                                                                 1574
          8   Relief Factor (divide line 1 by line 7 and round to 2 decimal places)                        1.33

         As indicated by the Time/Workload Analysis chart, the shift relief factor was already
         calculated into the Purchasing Agents workload. Including the shift relief factor, the
         workload of 7 Purchasing Agents will require two (2) additional allocations. It should be
         noted that this assessment revealed existing Purchasing Agents are working on principle
         modalities 100% of the time.

         Results Summary

         As of this assessment, there are 7 total allotments in Purchasing with 5 non-supervisory
         positions. There are five (5) Purchasing Agents doing the work of 7.

         Recommendation – The addition of two (2) Purchasing Agent
                                                              gent allocations.
                                                                   allocations.




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                  Lee County Sheriff’s Office
   Personnel Assessment
      1. Member Surveys

         As part of the workload inspection of Purchasing, all members received a “Member
         Survey” disseminated by Sgt. Diana Cintron consisting of thirty-one (31) questions
         directly related to the individual worker. Sgt. Cintron provided seven (7) unit members
         with a hyperlink to the anonymous, confidential, web-based survey and requested it be
         completed. Seven (7) of the 7 members or 100% of personnel responded. A copy of the
         thirty-question member survey is included in the appendix.

         Below are the survey questions:

            1) Do you believe that your unit is performing at an acceptable level?
            2) Are you aware of any policies or procedures that are not being followed?
            3) If you answered yes to the above question, please specify which policy or
                procedure is not being followed?
            4) Has technology improved your personal work performance?
            5) Is your work satisfying?
            6) Do you know the goals and objectives of your unit?
            7) Do you have the necessary tools and resources to do your job?
            8) If you do not have the necessary tools and resources to do your job, please list the
                tools and resources that you need.
            9) Is your equipment periodically inspected as required by policy?
            10) Were you given the requisite training upon selection to your unit?
            11) Have you received additional unit related training since you started in this unit?
            12) Is training available to you in your current assignment?
            13) Has the training you have received improved your job performance?
            14) Is your supervisor aware of your work performance?
            15) Does your supervisor support your actions and decision?
            16) Does your supervisor encourage your ideas and opinions?
            17) Does your supervisor inform you on matters that affect your job?
            18) (Short answer question) What are the positive things about your unit/shift?
            19) (Short answer question) What are the negative things about your unit/shift?
            20) (Short answer question) Have you taken an active role in finding solutions to unit
                issues?
            21) (Short answer question) What could you or the agency do to help maximize your
                job performance?
            22) (Short answer question) Is there any equipment not provided to you that could
                help you to perform better?


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                  Lee County Sheriff’s Office
            23) (Short answer question) If you answered yes to the above, please list the
                equipment that could be provided which would help you perform your job better.
            24) (Short answer question) Is there any training that you would like to have more
                frequently?
            25) (Short answer question) If you answered yes to the above, please list the type of
                training you would like to receive.
            26) (Short answer question) Are there any procedures that can be modified to save
                time?
            27) (Short answer question) If you answered yes to the above, please list the
                procedure changes that you would make to save time.
            28) Are you aware that all files, spread sheets and/or pertinent information should be
                uploaded to the proper program or sent to the official custodian within the Lee
                County Sheriff's Office and not be kept in your own personal files?
            29) Do you have any personal files that should be uploaded in Spillman or any other
                LCSO programs?
            30) (Short answer question) Is there anything you would like to add about your work
                or your unit? If so, please let us know below.
            31) What would you like us to know that would benefit Purchasing or was not
                covered previously?

          Survey Responses:wafe

                (Duplicate or unassociated written answers have been omitted. The full responses
                can be viewed in the Appendix.

            1. Do you believe that your unit is performing at an acceptable level?
                    i. Yes – 100%
                   ii. No – 0%
            2. Are you aware of any policies or procedures that are not being followed?
                    i. Yes – 0%
                   ii. No – 100%
            3. If you answered yes to the above question, please specify which policy or
               procedure is not being followed. N/A
            4. Has technology improved your personal work performance?
                    i. Yes – 86%
                   ii. No – 14%
            5. Is your work satisfying?
                    i. Yes – 100%
                   ii. No – 0%
            6. Do you know the goals and objectives of your unit?
                    i. Yes – 100%

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                  ii. No – 0%
            7. Do you have the necessary tools and resources to do your job?
                      i. Yes – 83%
                     ii. No – 17%
            8. (Short answer question) If you do not have the necessary tools and resources to do
                your job, please list the tools and resources that you need.
                      i. Written Answers:
                            a. “Although would like to add a few bar code scanners, along with a
                                good camera to take pictures of stock items.”
                            b. “The tools they have given us to do the job is very labor intensive
                                and inconsistent when performing certain tasks. Which in turn
                                makes the job very frustrating at times.”
                            c. “Would be nice to have a handheld scanner to scan items directly
                                into the person’s issuance.”
            9. Is your equipment periodically inspected as required by policy?
                      i. Yes – 100%
                     ii. No – 0%
            10. Were you given the requisite training upon selection to your unit
                      i. Yes – 100%
                     ii. No – 0%
            11. Have you received additional unit related training since you started in this unit?
                      i. Yes – 100%
                     ii. No – 0%
            12. Is training available to you in your current assignment?
                      i. Yes – 100%
                     ii. No – 0%
            13. Has the training you received improved your job performance?
                      i. Yes – 100%
                     ii. No – 0%
            14. Is your supervisor aware of your work performance?
                      i. Yes – 100%
                     ii. No – 0%
            15. Does your supervisor support your actions and decisions?
                      i. Yes – 100%
                     ii. No – 0%
            16. Does your supervisor encourage your ideas and opinions?
                      i. Yes – 100%
                     ii. No – 0%
            17. Does your supervisor inform you on matters that affect your job?
                      i. Yes – 100%


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                    ii. No – 0%
            18. (Short answer question) What are the positive things about your unit/shift?
                     i. Written Answers:
                           a. “I feel everyone tries to work as a team, and I am approachable if
                               they have concerns.”
                           b. “Management in the unit is very approachable and easy to talk
                               with. I enjoy the job, just not the Munis program we have
                               switched to, to complete the job.”
                           c. “Every day is a challenge and in this unit you can’t never stop
                               learning.”
                           d. “We are able to provide customer service and necessities to other
                               employees in the agency.”
                           e. “I am able to successfully work with my partner/co-workers, have
                               great support from my supervisors, different projects,
                               responsibilities to stay busy, great relationships with other
                               employees in the agency and co-workers.”
                           f. “Each member has different areas that they handle and excel in.
                               The team has an excellent work ethic and multi-task both
                               individually and as a unit.”
                           g. “Open door policy. Both Shannon and Jenna are always willing to
                               help and to also answer any questions or problems I come across.”
            19. (Short answer question) What are the negative things about your unit/shift?
                     i. Written Answers:
                           a. “N/A.”
                           b. “The glitchy Munis program we are using to do the job.”
                           c. “In occasions the miscommunication.”
                           d. “Sometime attitudes can be difficult to deal with.”
                           e. “Others with low morale, negativity or causing issues with other.”
                           f. It is a smaller unit, so when it comes to scheduling it can hard to
                               have multiple personnel off?”
            20. Have you taken an active role in finding solutions to unit issues?
                     i. Yes – 71%
                    ii. No – 29%
            21. (Short answer question) What could you or the agency do to help maximize your
                job performance?
                     i. Written Answers:
                                   a. “N/A.”
                                   b. “Nothing that I can think of at this time. They already have
                                       given us a counter person which has help tremendously
                                       with the interruptions in completing tasks in the Munis


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                                        system and given us desk top scanners to help with the
                                        workload.”
                                    c. “Provide better salary and more trainings in other areas.”
                                    d. “Improve morale.”
                                    e. “Help to update technology so we are not so paper heavy
                                        and doing things manually, such as a scanning/inventory
                                        system that ties in with our purchasing system (Munis),
                                        electronic signatures, etc.”
                                    f. “Would be nice to have a handheld scanner to scan items
                                        directly into the person’s issuance.”
            22. Is there any equipment not provided to you that could help you to perform better?
                     i. Yes – 43%
                    ii. No – 57%
            23. If you answered yes to the above, please list the equipment that could be provided
                which would help you perform your job better.
                     i. Written Answers:
                            a. “Bar code scanners (handheld).”
                            b. “A handheld scanner that would help with scanning uniforms right
                                in to the employee issuance if this was possible based on
                                procurement program we have in place.”
                            c. “Would be nice to have a handheld scanner to scan items directly
                                into the person’s issuance.”
            24. Is there any training that you would like to have more frequently?
                     i. Yes – 43%
                    ii. No – 57%
            25. If you answered yes to the above, please list the type of training you would like to
                receive.
                     i. Written answers
                            a. “Cross training in different areas within the unit.”
                            b. “Anything relating to effectively dealing with people.”
                            c. “Anything customer service or dealing with people.”
            26. Are there any procedures that can be modified to save time?
                     i. Yes – 57%
                    ii. No – 43%
            27. If you answered yes to the above, please list the procedure changes that you
                would make to save time.
                     i. Written answers
                            a. “Entering of uniform requests in Munis. Lots of steps to enter
                                each item.”



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                            b. “As mentioned above, advanced technology systems in place
                                would help decrease manual issuance/receipts and having to scan
                                paper. Electronic signatures for issued items, scanning system to
                                take inventory and manage receipts/issuance.”
                            c. “A handheld scanner than would help with scanning uniforms right
                                into the employee issuance if this was possible, based on
                                procurement program we have in place.”
                            d. “Would be nice to have a handheld scanner to scan items directly
                                into the person’s issuance.”
             28. Are you aware that all files, spread sheets and/or pertinent information should be
                 uploaded to the proper program or sent to the official custodian within the Lee
                 County Sheriff's Office and not be kept in your own personal files? Is there
                 anything you would like to add about your work or your unit?
                      i. Yes – 100%
                     ii. No – 0%
             29. Do you have any personal files that should be uploaded in Spillman or any other
                 LCSO programs?
                      i. Yes – 0%
                     ii. No – 100%
             30. (Short answer question) Is there anything you would like to add about your work
                 or your unit?
                      i. Written Answers:
                            a. “The girls in Purchasing work very hard, they are team players and
                                very conscientious in the work they do.”
                            b. “We have a good little unit here with great management.”
                            c. “Some co-workers should mind their own business.”
                            d. “We have a hard working group of people that are tasked with a
                                large workload and they handle it.”
                            e. “I enjoy my job and really like working for Jenna and Shannon.”
             31. What would you like us to know that would benefit the Human Resources Unit or
                 was not covered previously?
                      i. Written answers
                            a. “Nothing.”

   The major issues observed in the member survey are as follows:

                      1) Equipment:
                            a. Throughout the survey, it was mentioned by several Purchasing
                               Agents that they would like to have a handheld Barcode scanner
                               that would scan information into the employee issuance.
                            b. A good camera to take pictures of stock items.

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                             c. Advanced technology systems in place would help decrease
                                manual issuance/receipts and having to scan paper. Electronic
                                signatures for issued items, scanning system to take inventory and
                                manage receipts/issuance.

                        Recommendation: If Director Clark agrees with the suggestions of the
                        additional equipment/technology, it should be investigated to determine
                        cost and effectiveness.

                     2) Training:
                           a. Cross training in different areas within the unit.
                           b. A class on effectively dealing with people.
                           c. A class on customer service.

                        Recommendation: The individual should find out where these
                        classes/courses are being offered and provide the Training Division, Paula
                        Robinson, with the information so it may be uploaded into TMS and apply
                        for the offered course.

      2. Personal Interviews

         Sgt. Cintron made an unannounced visit to speak to the Purchasing Agents in the
         Purchasing Division. Sgt. Cintron spoke to several people asking them what their job
         duties were, what their daily tasks comprised of, and their overall job happiness. The
         only issue brought up was regarding a handheld scanner to make their job tasks quicker
         and easier. Although, the unit is a small unit, it appears that the Purchasing Agents and
         Management are a very closely knitted group. Sgt. Cintron was sitting at the break table
         and one Purchasing Agent was eating her lunch. She appeared to be happy and content
         with her position in Purchasing. It was very busy and non-stop.

      3. Member Self-Assessments

         An online Member Self-Assessment was distributed to each member in Purchasing.
         These anonymous assessments asked personnel to answer four questions and state their
         highest level of formal education. Seven of the seven members (100%) returned the
         assessment. The possible answers to the questions were Very High, High, Neutral, Low,
         and Very Low. The questions were as follows:

            1) Morale can be described as one’s emotional or mental condition with respect to
               cheerfulness, confidence, zeal, etc., especially in the face of opposition, hardship,
               etc… Which of these best describes your personal level of morale?


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            2) Job satisfaction can be defined as how content an individual is with his or her job,
               in other words, whether or not they like the job or individual aspects of their
               position, such as nature of work. Which one of these best describes your level of
               job satisfaction?
            3) Worker happiness is that happiness that workers feel when they are satisfied with
               their job and work conditions. Which one of these best describes your level of
               worker happiness?
            4) Productivity can be defined as the quality, state, or fact of being able to generate,
               create, enhance, or bring forth goods and services. Which of these best describes
               your personal level of productivity?
            5) Which of these describes your highest level of formal education?

         The answers were as follows:
            1) Which of these best describes your personal level of morale?
                   a. Very High – 25%
                   b. High – 50%
                   c. Neutral – 25%
                   d. Low – 0%
                   e. Very Low – 0%
            2) Which of these best describes your level of job satisfaction?
                   a. Very High – 14%
                   b. High – 71%
                   c. Neutral – 14%
                   d. Low – 0%
                   e. Very Low – 0%
            3) Which of these best describes your level of worker happiness?
                   a. Very High – 13%
                   b. High – 75%
                   c. Neutral – 13%
                   d. Low – 0%
                   e. Very Low – 0%
            4) Which of these best describes your level of productivity?
                   a. Very High – 38%
                   b. High – 50%
                   c. Neutral – 13%
                   d. Low – 0%
                   e. Very Low – 0%
            5) Which of these best describes your current level of education?
                   a. Doctorate – 0%
                   b. Masters – 25%


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                    c.   Bachelors – 24%
                    d.   Associates – 0%
                    e.   Some College – 38%
                    f.   HS Diploma – 13%
                    g.   GED – 0%

         This assessment showed that Purchasing employees have levels of morale, job
         satisfaction, worker happiness, and productivity ranged from neutral to very high.
         Productivity was noted at very high by 50% and high at 50%. It also showed that several
         employees had had attained a degree(s) at the level of postsecondary education.

         Note – Members are encouraged to take advantage of Lee County Sheriff’s Office
                                                                                   (fice
         benefits to obtain a low cost, high-quality education.

      4. Inspector Observations

         Sgt. Cintron made an unannounced visit to Purchasing, speaking to random personnel and
         observing their work habits. The personnel appeared to be very happy and comfortable
         in their positions. Sgt. Cintron observed that the atmosphere was friendly and
         welcoming. Sgt. Cintron noticed that the telephone was constantly ringing and the
         Purchasing Agents were working at the front counter assisting fellow employees.
         Additionally, Purchasing Agents were reviewing purchase orders and picking up
         COVID-19 supplies to handout to a fellow worker at the front counter. The employees
         were very outgoing and very attentive to Sgt. Cintron’s questions and needs. Sgt. Cintron
         felt very comfortable and welcomed by all of the employees.




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                   Lee County Sheriff’s Office
   Conclusion
   Mission Conclusion

      1. Does Purchasing meet the agency's formal expectations?

         Yes.

      2. Does Purchasing practices and procedures ensure compliance with LCSO policies,
         procedures, and professional standards?

         Yes.

      3. Are there deficiencies in integrity, training, morale, policy, supervision, or personnel at
         Purchasing?

         There are no recognizable deficiencies in integrity, training, morale, policy, first line
         supervision, and personnel.

      4. Are resources adequate for achieving agency goals and objectives?

          Several Purchasing Agents requested a handheld Barcode scanner and a camera to take
         pictures of stock items. The staffing resources are inadequate according to the workload
         analysis. The addition of two (2) Purchasing Agent allocations is recommended for the
         Purchasing Division.

      5. Are internal and external communications effective?

         Yes.

      6. Is there sufficient safety and security for personnel?

         Yes. There is sufficient safety and security for personnel, and the equipment provided
         meets and exceeds all operational and Accreditation standards.

      7. Are the written directives for this unit adequate?

         Yes. Written directives meet all State and Federal laws, and Accreditation Standards.

      8. Evaluation of the record keeping practices for organization, completeness, and ability to
         retrieve information.




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          The record keeping practices of Purchasing are organized, complete, and the software
          available provides easy retrieval of information.

      9. Other Recommendations
         There are no other recommendations at this time.


      Objectives

      6. Does Purchasing comply with the law, policy, and CALEA standards? Yes.
                                                                           Yes.

      7. Is the Purchasing facility safety and security appropriate? Yes.
                                                                     Yes.

      8. Are equipment safety, and equipment needs met?”? Yes.
                                                          Yes.


      9. Is adequate supervision assigned to Purchasing? Yes.
                                                         Yes.

      10. Are adequate personnel assigned to Purchasing? No.
                                                      x? No.
                                                           >




          Recommendation: The current staffing level is inadequate and it is recommended   that two
                                                                                 nmended that   two
          (2) additional Purchasing Agent positions be allocated.



   The Purchasing Division of the Lee County Sheriff's Office appears to be running at a high to
   very high level of productivity according to all of the employees. Most of the personnel appear
   to be happy to very happy to be assigned there. Supervisors appear extremely qualified, and are
   well liked by their employees. Nearly all of the staff showed high to very high levels of morale
   and job satisfaction.

   It is difficult to obtain the perfect level of equipment, service, and employee satisfaction in a law
   enforcement agency. The Purchasing Division is a very small unit with a group of very hard
   working and dedicated employees. With their expertise in purchasing goods and services for the
   department, the certified staff can focus on keeping the residents and visitors of Lee County safe




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